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 4
     Attorney for Defendant
 5   TIMOTHY MARK MAUGERI
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              ) CASE NO. CR F-07-0315 OWW
                                            )
12                                          ) STIPULATION TO CONTINUE
           Plaintiff,                       ) SENTENCING DATE, REQUEST
13                                          ) FOR ORDER APPROVING NEW
                                            ) DATE
14                                          )
     vs.                                    )
15                                          )
                                            ) CURRENT DATE: 2/9/09 , 9:00 a.m.
16   TIMOTHY MARK MAUGERI,                  ) NEW DATE: 4/6/09 at 9:00 a.m.
                                            )
17         Defendant.                       )
                                            )
18
           It is hereby stipulated by and between counsel for the government and
19
     counsel for defendant that the sentencing date set for February 9, 2009 at 9:00 a.m.
20
     be rescheduled to April 6, 2009 at 9:00 a.m. Counsel for the government will be
21
     out of the geographical area on February 9, 2009; both counsel for the government
22
     and counsel for the defendant have oral argument in the same case before the Ninth
23
     Circuit Court of Appeals on March 9, 2009, and both counsel’s respective
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     calendars show April 6, 2009 as an available sentencing date. The defendant is out
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     of custody and complying with all conditions of pretrial release.
26
           WHEREFORE the parties request that the court, for good cause, approve
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28                                            1
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 1   the attached order.
 2
 3   DATED: 2/3/09                   /s/Katherine Hart
                                     KATHERINE HART, Attorney for
 4                                   Defendant TIMOTHY MARK MAUGERI
 5
     DATED: 2/3/09                   /s/Kevin Rooney
 6                                   Kevin Rooney, Assistant United States
                                     Attorney
 7
 8
 9                                       ORDER
10
11         Counsel having stipulated to continue the sentencing date to April 6, 2009,
12   it is hereby ordered that the sentencing date previously set for February 9, 2009
13   at 9:00 a.m. be reset to April 6, 2009 at 9:00 a.m..
14   IT IS SO ORDERED.
15   Dated: February 3, 2009                    /s/ Oliver W. Wanger
     emm0d6                                UNITED STATES DISTRICT JUDGE
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